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                           UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                 PHILADELPHIA DIVISION

  In re:
                                                                Bankruptcy No. 19-10258
  Lawrence Meyerhofer,
                                                                Chapter 13
            Debtor,
  New Residential Mortgage LLC,                                 Hearing Date: May 5, 2020
       Movant,                                                  Hearing Time: 11:00 AM
  v.                                                            Location: 900 Market Street, Suite
                                                                400, Philadelphia, PA 19107,
  Lawrence Meyerhofer,
                                                                Courtroom #4
            Debtor/Respondent,
  Tiffany Meyerhofer,
            Co-Debtor/Respondent,
  WILLIAM C. MILLER, Esq.,
  Trustee/Respondent



                      MOTION FOR RELIEF FROM THE AUTOMATIC STAY


           Secured Creditor, New Residential Mortgage LLC, by and through the undersigned

 counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d) and 11 U.S.C. § 1301, for a

 modification of the automatic stay provisions for cause, and, in support thereof, states the

 following:

       1. Debtor(s), Lawrence Meyerhofer and Tiffany Meyerhofer filed a voluntary petition pur-

           suant to Chapter 13 of the United States Bankruptcy Code on January 15, 2019.

           Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. §

           1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and

           statutes affecting the jurisdiction of the Bankruptcy Courts generally.

       2. On December 29, 2015, Lawrence Meyerhofer and Tiffany Meyerhofer executed and

           delivered a Promissory Note (“Note”) and Mortgage (“Mortgage”) securing payment of

                                                                                     Lawrence Meyerhofer
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         the Note in the amount of $414,000.00 to Finance of America Mortgage. A true and

         correct copy of the Note is attached hereto as Exhibit “A.”

    3. The Mortgage was recorded on January 13, 2016 in Book __ at Page 2016002284 of the

         Public Records of Bucks County, Pennsylania. A true and correct copy of the Mortgage

         is attached hereto as Exhibit “B.”

    4. The Mortgage was secured as a lien against the Property located at 2485 Hieter Rd

         Quakertown Pennsylvania 18951 (“the Property”).

    5. The loan was lastly assigned to Ditech Financial LLC and same was recorded with the

         Bucks County Recorder of Deeds on January 13, 2016 as Instrument Number

         2016002284. A true and correct copy of the Assignment of Mortgage is attached hereto

         as Exhibit “C.”

    6. Based upon the Debtor(s)’ Chapter 13 Amended Plan (Docket No.25), the property is

         treated outside the plan and Secured Creditor will receive payments directly. A true and

         correct copy of the Amended Plan is attached hereto as Exhibit “D.”

    7.    Co-Debtor(s), Tiffany Meyerhofer are liable on and/or has secured the aforementioned

         debt with the Debtor(s).

    8. Debtor has failed to make the monthly payments of principal, interest, and escrow in the

         amount of $2,853.51 which came due on January 1, 2020, and February 1, 2020,

         respectively.

    9. Thus, post-petition arrearage totaled the sum of $4,014.93 with a suspense of $1,692.06.

         The terms of the aforementioned Note and Mortgage have been in default, and remain in

         default, since January 1, 2020.

    10. Under Section 362(d)(1) of the Code, the Court shall grant relief from the automatic stay


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       and Co-Debtor stay for “cause” which includes a lack of adequate protection of an

       interest in property. Sufficient “cause” for relief from the stay under Section 362(d)(1):

       and Co-Debtor stay pursuant to 11 U.S.C. § 1301 is established where a debtor has failed

       to make installment payments or payments due under a court-approved plan, on a secured

       debt, or where the Debtor(s) have no assets or equity in the Mortgaged Property.

    11. As set forth herein, Debtor has defaulted on his secured obligation as he has failed to

       make his monthly post-petition installment payments.

    12. As a result, cause exists pursuant to 11 U.S.C. § 362(d) and 11 U.S.C. § 1301 of the Code

       for this Honorable Court to grant relief from the automatic stay to allow Secured

       Creditor, its successor and/or assignees to pursue its state court remedies, including the

       filing of a foreclosure action.

    13. Additionally, once the stay is terminated, the Debtor(s) will have minimal motivation to

       insure, preserve, or protect the collateral; therefore, Secured Creditor requests that the

       Court waive the 14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).




                                                                                  Lawrence Meyerhofer
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        WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

 the automatic stay under 11 U.S.C. § 362(d) and 11 U.S.C. § 1301 to permit New Residential

 Mortgage LLC to take any and all steps necessary to exercise any and all rights it may have in

 the collateral described herein, to gain possession of said collateral, to seek recovery of its

 reasonable attorneys’ fees and costs incurred in this proceeding, to waive the 14-day stay

 imposed by Fed.R.Bankr.P. 4001(a)(3), and for any such further relief as this Honorable Court

 deems just and appropriate.

 Date: April 13, 2020

                                            <FIRM NAME>
                                            Attorney for Secured Creditor
                                            <ADDRESS>
                                            <CITY/STATE/ZIP>
                                            Telephone: <###-###-####>
                                            Facsimile: <###-###-####>
                                            By: /s/ ________________
                                            XXXXXXX XXXXXXX, Esquire
                                            PA Bar Number XXXXXXX
                                            Email: XXXXXXX




                                                                                 Lawrence Meyerhofer
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